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        GET FABRIC, INC.



                                                               24-cv-4955


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